Case 1:17-cv-O4179-DLC Document 90 Filed 02/07/18 Page 1 of 1
Case 1:17-cv-04179-DL.C Document 89 Fi|eci 02/07/18 Page 1 of 1

UNlTED STATES
SECURITIES ANI) EXCHANGE COMMISSION
DENVER REGioNAL OFFICE
BVRON G. ROGERS FEDERAL BUILDiNG
1961 S'roUT STREET, SUITE 1700
DENVER, CoLoRADo 80294-1961

 

DIVIS]ON OI<`
ENFORCEMEN'I`

(3£}3) 844-1014
millerte@sec.gov

February 7, 2018

 

mmm~~w. ,... ~,»,-.. ..`. _,W, ,,,= ,,'
M»~»_“W

Honorable Denise Cote §?J :`»";»Y:S §§ l "; }
U.S. Distriet Court for the Southern District of NeW York j B/Ux_, jfu§ §~,1 -$"T‘
Daniel Patriel< Moynihan United States Courthouse
500 Pearl Street, Room 1610

New York, NY 10007

   

gray "~‘\vr';:
Ela.`lmzw, _ ..':Y ""§t.i§»

z :'

§
op -" n
nan-z tear ta::§f_m*?£g:

 

 

Re: SEC v. Alpr`ne Securities Coi;poration
Case No..' 1:17-CV-04179-DLC

 

 

Dear Jud ge Cote:

The Plaintiff Seeurities and Exchange Commission (“SEC”) requests a 6-page
enlargement of the page limitation for reply memoranda of law Set forth in the Court’s lndividual

Practice 3.B, to and including 16 pages for its reply memoranda of law in Support of its Motion
for Partial Summary Judgement (Doc. No. 68 “Motion”)

The requested enlargement is proportional to the additional pages allowed for Defendant
Alpine Seeurities Corporation’s (“Alpine”) Memorandum oi" Law in Opposition to the Motion
(“Opposition” Doe. No. 87) and is necessary for the SEC to adequately reply to the Opposition.
Counsel for Alpine states that Alpine does not oppose the requested enlargement

Aecordingly, the SEC respectfulfy requests that the Court approve an enlargement of the
page limitation in the Court’s individual Practiee 3.B to permit the SEC to tile a reply
memorandum of law in support of the Motion up to 16 pages in iength.

‘ _ , Sineerely,
§M...ve%.

s g /s/ Terrv R. Miller
%W ié»»\ Zachary T. Carlyle (pro hac vice)

/ 77/»7/&} Terry R. Milier (pro hac vice)

 

,_»-._x.»w`\w.-,o-v-¢-* _'

 

§ee: Ali counsel of record

 

